                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    SVITLANA DOE, et al.,                            *
                                                     *
           Plaintiffs,                               *
                                                     *
                   v.                                *
                                                     *
    KRISTI NOEM, in her official capacity as         *
    Secretary of Homeland Security; TODD M.          *
    LYONS, in his official capacity as the Acting    *
    Director of Immigration and Customs              *
                                                            Civil Action No. 1:25-cv-10495-IT
    Enforcement; PETE R. FLORES, in his              *
    official capacity as Acting Commissioner of      *
    U.S. Customs and Border Protection; KIKA         *
    SCOTT, in her official capacity as the Senior    *
    Official Performing the Duties of the Director   *
    of U.S. Citizenship and Immigration Services;    *
    and DONALD J. TRUMP, in his official             *
    capacity as President of the United States,      *
                                                     *
           Defendants.                               *

                                    MEMORANDUM & ORDER

                                            April 2, 2025

          Defendants’ pending Motion for an Order to Provide Identifying Information for the

Individual Plaintiffs [Doc. No. 77] seeks identifying information for individual Plaintiffs in this

case who are presently proceeding under pseudonyms. Plaintiffs respond that they provided

Defendants’ counsel with the real name (and where applicable, DHS alien number) of 12 of the

17 Doe Plaintiffs before Defendants filed their motion, and the identities of four more individual

Plaintiffs after Defendants’ filing. See Opp. to Mot. for Identifying Information [Doc. No. 78]. 1




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  The identifying information was provided pursuant to the Stipulated Protective Order [Doc. No.
57], which limits access to counsel for the parties, employees or agents of the parties who have a
reasonable need of access solely in connection with the prosecution or defense of this action,
outside independent persons retained to furnish technical or expert services or give testimony in
The remaining individual Plaintiff, proceeding as Miguel Doe, has submitted a declaration (with

his name redacted) attesting to risks he faces in his native country (Nicaragua) and stating that he

seeks to proceed pseudonymously for fear that the United States government will retaliate

against him and his family for his participation in this lawsuit by, for example, initiating

deportation proceedings. See Miguel Doe Decl. [Doc. No. 64-4]. Based on the risks Miguel Doe

faces compared to the minimal prejudice to Defendants in not knowing his identity at this stage,

the court declines to order him to provide his identity to the Defendants at this time. Therefore,

Defendants’ Motion for an Order to Provide Identifying Information for the Individual Plaintiffs

[Doc. No. 77] is DENIED as moot as to 16 of the 17 individual Plaintiffs and as unwarranted at

this time as to Miguel Doe.

   I.      Discussion

        The government suggests that the language of Fed. R. Civ. P. 10(a) (“The title of the

complaint must name all the parties”) and Fed. R. Civ. P. 17(a)(1) (“An action must be

prosecuted in the name of the real party in interest[]”) militates against Plaintiffs proceeding

pseudonymously. The First Circuit has stated, however, that “it is less than obvious that a party’s

‘name’ in this context means his true name, to the exclusion of a pseudonym” and has made clear

that these rules do not mandate public disclosure. Doe v. Massachusetts Institute of Technology,

46 F.4th 61, 67 (1st Cir. 2022).




this action, the court and court employees and all persons necessary to the conduct of judicial
hearings or trial, and any other person whom counsel collectively agree in writing or whom this
court directs. The Protective Order further states that confidential information exchanged in the
course of litigation shall be used by the parties and other persons solely for the pursuit or defense
of this litigation, that such information shall not be used for any immigration enforcement
purpose, and that all provisions of the order shall continue to be binding after the conclusion of
this litigation. See id. ¶¶ 7, 9.

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        There is a “strong presumption against the use of pseudonyms in civil litigation.” Does 1-

3 v. Mills, 39 F.4th 20, 25 (1st Cir. 2022). Nonetheless, courts “have found that the use of

pseudonyms may be warranted in ‘exceptional cases.’” Id. (quoting Doe v. Megless, 654 F.3d

404, 408 (3d Cir. 2011)) (internal citations omitted). Courts in this circuit are to assess the need

for pseudonymity at a given stage of litigation by considering the “totality of the circumstances.”

See Doe v. MIT, 46 F.4th at 70. The First Circuit has instructed:

        In most cases, the inquiry should focus upon the extent to which the facts align
        with one or more of the following paradigms: [1] whether the case is one in which
        the movant reasonably fears that coming out of the shadows will cause him
        unusually severe physical or mental harm; [2] whether the case is one in which
        compelled disclosure of the movant’s name will likely lead to disclosure of a
        nonparty’s identity, causing the latter substantial harm; [3] whether the case is one
        in which compelled disclosure would likely deter, to an unacceptable degree,
        similarly situated individuals from litigating; or [4] whether the federal suit is
        bound up with a prior proceeding subject by law to confidentiality protections and
        forcing disclosure of the party’s identity would significantly impinge upon the
        interests served by keeping the prior proceeding confidential.

Id. at 72.

        This case falls in the first and third paradigms—and possibly the second

paradigm, given the harm Miguel Doe fears for himself and his family if they are

deported to Nicaragua. Miguel Doe has submitted a declaration speaking to his “need for

anonymity in [the] case,” Id. at 73, in which he states that he fears that disclosing his

identity will cause the United States government to retaliate against him in immigration

proceedings. See Miguel Doe Decl. [Doc. No. 64-4]. His submission suggests that the

risk of deportation is particularly acute in his case, given possible raids in his community.

See id. ¶ 11. If he is deported, Miguel Doe fears persecution in his native Nicaragua, as

he fears that the Nicaraguan government will label him an opponent, particularly given

his family member’s political persecution by the Nicaraguan state. See id. ¶¶ 15, 16. If

this court ordered disclosure of Miguel Doe’s identity, it would likely deter similarly
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situated individuals from litigating cases such as these, in which the perceived risk of

proceeding without a pseudonym—deportation—is precisely the harm Plaintiffs seek to

prevent by participating in the lawsuit. While the other Doe Plaintiffs in this case

voluntarily disclosed their identities despite the risks, requiring such actions at this stage

of the proceedings would unacceptably deter such individuals from litigating.

        Doe v. MIT addressed a situation in which the defendant knew the pseudonymous

plaintiff’s identity (but the public did not). Defendants argue here that they are prejudiced

by the non-disclosure of all Plaintiffs’ identities because they cannot investigate the

allegations of the individual Plaintiffs seeking injunctive relief or of each putative class

representative by evaluating whether “the evidence Defendants have in their possession

for these individuals and their applications undermines their allegations.” Mot. for Order

for Identifying Information at 4-5 [Doc. No. 77]. Defendants similarly state that “[i]f

Defendants have information that would be useful to testing Plaintiffs’ factual allegations

and other assertions, Plaintiffs’ refusal to share identities of the individual Plaintiffs is

preventing Defendants from marshalling that evidence to defend this case.” Id. at 5.

        But Defendants have not pointed to any category of information they may

uncover that would aid in challenging Plaintiffs’ two motions for preliminary injunctions

and stays, the two motions for class certification, or the legal issues raised by this action.

Instead, they have only stated in a conclusory fashion that they are “blindly litigat[ing]

against unknown Plaintiffs.” Id. at 6. The value for Defendants in learning information

about Miguel Doe in defending Plaintiffs’ legal challenge is extremely limited. The

motions for preliminary injunctions and stays raise facial challenges to broad, categorical

immigration policies and actions taken by Defendants, and the potential harms of such



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actions—and thus the potential bases for standing, likelihood of success, and most of the

prerequisites for class certification—are not specific to any individual Plaintiff, including

Miguel Doe. As to irreparable harm, 2 and the adequacy of Miguel Doe as a class

representative, Defendants suggest no reason that individual information is necessary at

this stage to test Miguel Doe’s allegations, but regardless, to the extent Defendants are

prejudiced by the non-disclosure of Miguel Doe’s identity at this stage of litigation, that

prejudice is substantially mitigated by the disclosure of the 16 other individual Plaintiffs’

identities.

          The First Circuit has identified one additional problem related to pseudonymity:

where an individual’s name is unknown to the court, “a meaningful recusal check [is]

impossible.” Doe v. MIT, 46 F.4th at 77. Therefore, “courts tasked with resolving

pseudonymity motions must be afforded the anonymous party’s true name under seal.”

Id. Accordingly, all Plaintiffs shall submit their identities to this court under seal to

facilitate a recusal check.

    II.       Conclusion

          For the foregoing reasons, Defendants’ Motion for an Order to Provide Identifying

Information for the Individual Plaintiffs [Doc. No. 77] is DENIED. No later than April 5, 2025,

Plaintiffs shall disclose their identities to this court under seal to facilitate a recusal check.

          IT IS SO ORDERED.

          April 2, 2025                                          /s/ Indira Talwani
                                                                 United States District Judge




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 Such harms include risk of deportation, risk of detention, risk of family separation, and loss of
work authorization and other benefits.

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